Case 1:01-cv-12257-PBS Document 6586-9 Filed 10/13/09 Page 1 of 7




                   EXHIBIT H
Case 1:01-cv-12257-PBS Document 6586-9 Filed 10/13/09 Page 2 of 7
Case 1:01-cv-12257-PBS Document 6586-9 Filed 10/13/09 Page 3 of 7
Case 1:01-cv-12257-PBS Document 6586-9 Filed 10/13/09 Page 4 of 7
Case 1:01-cv-12257-PBS Document 6586-9 Filed 10/13/09 Page 5 of 7
Case 1:01-cv-12257-PBS Document 6586-9 Filed 10/13/09 Page 6 of 7
Case 1:01-cv-12257-PBS Document 6586-9 Filed 10/13/09 Page 7 of 7
